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               IN THE UNITED STATED DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION




FACULTY, ALUMNI, AND STUDENTS
OPPOSED TO RACIAL PREFERENCES
(FASORP),
                   Plaintiff,
     v.

NORTHWESTERN UNIVERSITY; HARI
OSOFSKY, in her official capacity as dean of       Case No. 24-cv-5558
Northwestern University School of Law; SARAH
LAWSKY, JANICE NADLER, and DANIEL                  District Judge Sara Ellis
RODRIGUEZ, in their official capacities as
Professors of law at Northwestern University;
DHEVEN UNNI, in his official capacity as editor
in chief of the Northwestern Law Review;
JAZMYNE DENMAN, in her official capacity as
senior equity and inclusion editor of the
Northwestern Law Review,
                          Defendants.




        BRIEF OF AMICI CURIAE PROFESSORS MYRIAM GILLES
          AND PAUL GOWDER IN SUPPORT OF DEFENDANTS
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                        INTERESTS OF AMICI CURIAE

      Amicus curiae Myriam E. Gilles (“Professor Gilles”) is the Paul R. Verkuil

Chair in Public Law at the Benjamin N. Cardozo School of Law in New York City.

Amicus curiae Paul Gowder (“Professor Gowder”) is a Professor at the Northwestern

Pritzker School of Law in Chicago. Amici support the motion to dismiss filed by

defendant Northwestern Law School in all respects, including that the Amended

Complaint fails to state a claim upon which relief can be granted. While the legal

issues are straightforward, as set forth in Northwestern’s motion, Amici believe the

Court will benefit from consideration of the interests of current and future Black

academics, whose reputations and professional prospects suffer when FASORP is

able, without consequence, to further its political agenda by publishing allegations,

couched as facts, to the effect that Black law professors are unqualified for the

positions they hold.


                          PRELIMINARY STATEMENT

      The Amended Complaint is a white grievance polemic dressed up as a federal

lawsuit. Like other litigation emanating from FASORP, its parent organization

America First Legal, and their co-venturers, this “case should never have been

brought. Its inadequacy as a legal claim was evident from the start. No reasonable

lawyer would have filed it. Intended for a political purpose, none of the counts of the

amended complaint state[] a cognizable legal claim.” Trump v. Clinton, 653 F. Supp.

3d 1198 (S.D. Fla. 2023) (imposing Rule 11 sanctions on the plaintiff), appeal

dismissed, 2023 U.S. App. LEXIS 12279, 2023 WL 3477967 (11th Cir. Apr. 6, 2023).
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      Social media platforms like X or Truth Social are the more natural home for a

race-baiting diatribe that begins “Faculty hiring at American universities is a

cesspool of corruption and lawlessness,” AC ¶ 1, and which then proceeds to attack

every Black scholar recently hired by Northwestern Law School as unworthy of their

positions. But the publication of such remarks on the internet would expose the

speaker to liability for defamation—and defamation per se at that. A lawsuit, by

contrast, affords the libeler absolute immunity. Hence this case.


      Winning a discrimination lawsuit is not FASORP’s objective. It clearly lacks

standing and fails to state a claim, as defendant Northwestern has shown. FASORP’s

objective, rather, is to sow fear in law school hiring committees and push back against

the inclusion of Black scholars within the rarefied ranks of elite law faculties. And

more than that, FASORP seeks to destroy the reputation of Amici and other Black

scholars.   As in Trump v. Clinton, numerous individuals here “were needlessly

harmed in order to dishonestly advance a political narrative.” 653 F. Supp. 3d at 1207.


      FASORP barely hides its agenda. It seeks to denigrate the achievements of

even the most objectively accomplished Black law professors, blithely asserting that

every one of them “was hired over white male candidates who are vastly more capable

and qualified.” AC ¶¶ 23, 36, 40, 42. It aims to humiliate Black scholars and

undermine their standing in the academy, asserting they “would not have been

considered for a faculty appointment at Northwestern if [they] had been white.” AC

¶¶ 23, 36, 40.   Scholars whose work is widely respected—like Jamelia Morgan, a

recognized pioneer in the study of Race and Disability, or Paul Gowder, a prolific

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scholar who was elected to the American Law Institute for his work at the

intersection of democratic theory and racial equality, or Myriam Gilles, who is among

the five most cited civil procedure scholars in the U.S.—are attacked as undeserving

“affirmative action hires.” AC ¶ 40 and p. 18. Another Black scholar is smeared as

“lazy.” AC ¶ 34.


       In its bid to discredit Black academics, FASORP leans heavily on “weaponized

plagiarism” allegations—a tactic increasingly popular in racially charged political

confrontations. 1 Practitioners of this dark art begin by running an author’s body of

work through powerful AI-enabled software products. They then locate and highlight

instances where the author has employed commonly used phrases to describe

uncontroversial background facts, or to make mundane preliminary points.             As

deployed in recent years against Kamala Harris, former Harvard President Claudine

Gay, Representative Jamaal Bowman and other prominent Black professionals,

weaponized plagiarism does not ask whether ideas are taken without attribution, as

would be the concern in a real plagiarism inquiry. Rather, weaponized plagiarism

leverages advanced technology to present inconsequential similarities of the type that

can easily be found in legal scholarship.


       The plaintiff’s litigation history shows that it well understood, at the time it

filed this lawsuit, that its complaint lacks legal merit. Its similar attacks on the NYU

and Harvard law reviews were both dismissed on standing grounds and for failure to



   1 Laura Meckler & Susan Svrluga, Northwestern’s Law School Is Biased Against White

Men in Hiring, WASH. POST, July 2, 2024, available at https://wapo.st/4htcvAb.

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state a claim. See FASORP v. NYU Law Review, 2020 WL 1529311 (S.D.N.Y. Mar.

31, 2020), aff’d, 11 F.4th 68 (2d Cir. 2021), cert. denied 142 S.Ct. 2813 (2022);

FASORP v. Harvard Law Review Ass’n, 2019 WL 3754023 (D. Mass. Aug. 8, 2019);

see generally, Defs’ Br., Doc. 33, at 10-12. And just last week, the Fifth Circuit

affirmed the decision of District Judge Charles Eskridge dismissing a hiring

discrimination claim against Texas A&M—a claim very similar to the claim here—

which was also brought by FASORP’s Jonathan Mitchell and America First Legal.

Lowery v. Texas A&M Univ., No. 23-20481, 2024 U.S. App. LEXIS 27565, at *1 (5th

Cir. Oct. 30, 2024).


       Nonetheless, as in Trump v. Clinton, plaintiff here was undeterred by the lack

of legal merit because “[t]he Complaint and Amended Complaint were drafted to

advance a political narrative; not to address legal harm caused by any Defendant.”

653 F. Supp. 3d at 1211. And FASORP intends to continue its campaign of bringing

meritless litigation in order to chill faculty hiring committees. Indeed, FASORP

counsel Jonathan Mitchell has announced that this case is only the “first of many

lawsuits.” 2


       Accordingly, Amici respectfully suggest that the Court consider, of its own

accord, directing FASORP under Fed. R. Civ. P. 11(c)(3) “to show cause why” its

pleadings in this case are “not being presented for any improper purpose,” within the

meaning of Rule 11(b)(1).



   2 Karen Sloan, Northwestern Law School Sued for Discrimination Against White Men in

Faculty Hiring, REUTERS, July 3, 2024, available at https://reut.rs/4fvlCyp.

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                             FACTUAL BACKGROUND

Background of the Lawsuit

       On June 30, 2023, America First Legal “sent a demand letter to the deans of”

some 200 law schools, demanding that they overhaul their “faculty hiring, and law-

review membership and article selection” processes to comport with the Supreme

Court’s decision in Students for Fair Admissions v. President & Fellows of Harvard

Coll., 600 U.S. 181 (2023). 3 The letters were sent one day after the Court released its

decision, the latest in a line of Supreme Court cases grappling specifically with the

permissible use of racial considerations in university admissions processes.


       America First Legal and its client organization, FASORP, then initiated the

instant case against Northwestern, billing it as the “first of many lawsuits”

challenging faculty hiring practices at U.S. law schools. 4 Northwestern presented an

easy target for America First and FASORP’s intimidation campaign. With a faculty

famously riven by the culture wars, 5 America First and FASORP could reasonably

expect to find sympathizers at Northwestern willing to share their own distorted

accounts of private meetings and confidential committee records in a bid to embarrass

their colleagues. And they did. The Amended Complaint includes anonymous (and

dubious) accounts of numerous closed-door meetings (see, e.g., AC ¶¶ 20, 22, 23, 31,

37, 39) and the contents of confidential committee logs. Id., ¶ 46. The message from




   3 America First Legal, available at https://bit.ly/Am_First_Legal.

   4 Sloan, supra note 2.

   5 See e.g., Kathryn Rubino, Top Law School in Turmoil as Allegations Of ‘Toxic’
Environment Surface, ABOVE THE LAW, Mar. 14, 2024, available at https://bit.ly/NW_Toxic.

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America First and FASORP to law school hiring committees nationwide is a clear

one: ‘We have fellow travelers among your ranks and we will obtain their slanted

accounts of your most private hiring conversations until you adopt our preferred

hiring criteria and racial norms.’


The Smear Campaign Against Black Legal Academics

      Beyond seeking to intimidate hiring committees, the Amended Complaint aims

to humiliate and denigrate Black law professors. Every Black professor associated

with or offered a position by Northwestern Law School is, on the telling of America

First and FASORP, “mediocre,” and “undistinguished,” AC ¶¶ 14, 16, 49, and each

“was hired over white male candidates who are vastly more capable and qualified,”

and each “would not have been considered for a faculty appointment at Northwestern

if [he or she] had been white.” AC ¶¶ 23, 36, 37, 40, 42.


      If FASORP’s pronouncements as to the Amici here had been made outside the

judicial arena, they would be actionable—not because they are offensive, but because

they meet the elements of defamation per se under applicable law. See Huon v.

Denton, 841 F.3d 733 (7th Cir. 2016). Their defamatory nature is clear from even a

cursory look at the professors whose professional competence FASORP maligns. We

discuss them here in the order in which they appear in the Amended Complaint.


      1.     Professor Paul Gowder


      FASORP has very little to say about Professor Paul Gowder, except to state

that he “produced scholarship and obtained tenure from Iowa in 2017” before being



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“hired by Northwestern because he is black.” AC ¶ 37.        FASORP’s denigration of

Professor Gowder is shocking in its blitheness. Professor Gowder, who earned his

Ph.D. in political science at Stanford and his law degree at Harvard, is the author of

roughly forty published articles and three vibrant and original books. 6 The winner

of distinguished awards and honors in recognition of his scholarship, 7 Professor

Gowder is a gifted and prolific legal academic. Plainly, Northwestern scored a great

coup in hiring Professor Gowder away from Iowa—an excellent law school itself. As

Professor Gowder said to Washington Post reporters who contacted him for comment

after FASORP filed the complaint and its American First allies amplified it on social

media: “My record speaks for itself. I would gleefully put it up against the records of

any of the people who were supposedly passed over.” 8


       2.    Professor Jamelia Morgan


       Jamelia Morgan is a Professor of Law at Northwestern University Law School

and the nation’s leading scholar focused on issues at the intersection of race,

disability, and the criminal justice system. She is the founder of the Center for Racial

and Disability Justice, which actively and regularly provides programming around

race, disability and criminal justice issues. 9   Professor Morgan is the author of



   6 Professor Gowder’s curriculum vitae is available at https://gowder.io/#cv. See also
https://bit.ly/Gowder_Pubs.
   7 Among other honors, Professor Gowder was awarded the 2022 Dorothy Ann and

Clarence L. Ver Steeg Distinguished Research Fellowship Award in recognition of his
scholarly contributions, as well as a $100,000 Knight Foundation grant to support his
research. Id.
   8 Meckler & Svrluga, supra note 1.

   9 See Center for Racial & Disability Justice, https://www.crdjustice.org.


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numerous well-placed and broadly cited articles and is much in demand as a

participant in conferences and symposia in her field, as reflected on her curriculum

vitae. 10


        An award-winning academic, Professor Morgan has been celebrated for her

insightful and transformative analyses, especially on the constitutional implications

of criminalizing disability identity and status.         But beyond advancing scholarly

discourse, her research and teaching inspire social activism. These contributions are

of legitimate value to a law school; they engage students, energize alumni, and serve

the broader community.


        FASORP’s real problem with Professor Morgan – and also with Professors Paul

Gowder (AC ¶¶ 37) and Norrinda Brown (AC ¶¶ 85-96) — is that FASORP does not

value the fields of study in which they are leading figures. To FASORP and America

First, the study of race and the law (in its many iterations) is somehow illegitimate

or less worthy than whatever legal disciplines they value. But a discrimination

lawsuit is surely an odd vehicle for hashing out different views regarding what kinds

of legal scholarship are worthy and important.


        3.    Professor Myriam Gilles


        FASORP never specifies precisely what criteria it would employ in hiring, but

it allegedly “seeks to restore meritocracy in academia.”           AC ¶ 98.     And yet, on

whatever definition of “merit” one might apply, Professor Gilles meets the standard.


    10 Professor Morgan’s curriculum vitae is available at https://bit.ly/Morgan_cv.


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        One standard measure of academic distinction is the extent to which a scholar’s

published work is cited by others. See AC ¶ 15 (lauding Prof. Eugene Volokh, “whose

academic works…are often cited by litigants, courts, and scholars”). According to the

widely followed “Brian Leiter’s Law School Reports,” which tracks academic citations

by discipline, Professor Gilles is either the fifth or sixth most cited civil procedure

scholar in the U.S. 11     And that is out of hundreds of civil procedure scholars.

Moreover, on these lists, Professor Gilles is by far the youngest of all the top scholars.

On the 2021-22 listing, the civil procedure scholars with the highest cite counts were:


          Rank Name                            School                  Age in 2021
          1       Arthur Miller                NYU                     87
          2       Judith Resnik                Yale                    71
          3       Steven Burbank               Penn                    74
          4       Kevin Clermont               Cornell                 73
          5       James Pfander                Northwestern            65
          6       Myriam Gilles                Cardozo                 50
          7       William Rubinstein           Harvard                 61
          8       Deborah Hensler              Stanford                79



        Professor Gilles’ work has also been cited by dozens of courts, especially with

respect to class action procedural issues. See, e.g., Mullins v. Direct Dig., Ltd. Liab.




   11  The list varies by year, but Gilles has consistently been recognized as fifth or sixth in
citations. See e.g., Brian Leiter’s Law School Reports, Sept. 27, 2021, available at
https://bit.ly/Leiter_2021.




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Co., 795 F.3d 654, 667 (7th Cir. 2015) (establishing that Seventh Circuit does not

recognize an “ascertainability” requirement under Rule 23, citing Gilles). She is a

member of the American Law Institute—a peer-driven accolade FASORP touts with

respect to Professor Volokh (AC ¶ 16)—and is a highly sought-after speaker at

conferences on complex litigation and civil procedure issues. Professor Gilles has also

been called upon regularly to provide testimony to Congress, including seven

appearances before the Senate and House Judiciary Committees. She is the co-

author of a prominent Civil Procedure casebook, published by Aspen Publishing, and

has won numerous teaching awards. 12 Over her 25 years of teaching at Cardozo Law

School, she has declined offers of tenured professorship from top ten law schools.


        Not surprisingly, after FASORP and America First filed and publicized their

original complaint, numerous high-profile law professors from across the ideological

spectrum came to her defense on X, citing her achievements and calling America First

and FASORP out on their baseless race-baiting. 13


        And that is when America First and FASORP turned to the weaponized

plagiarism playbook that they and their allies have used in other recent campaigns

seeking to tarnish (mostly) Black professionals. 14            The process begins with a



   12 Professor Gilles’s curriculum vitae is available at https://bit.ly/Gilles_CV.

   13 See tweets referencing “Myriam Gilles” on X.com mostly around July 5-6, 2024.

   14 America Firster and right-wing provocateur Chris Rufo is widely identified as the
driving force behind the weaponized plagiarism inquiries into Vice President Harris,
Claudine Gay and others. See Karissa Waddick, Harris’ Campaign Rebuts Plagiarism
Claims, USA TODAY, Oct. 16, 2024, available at https://bit.ly/Harris_plagiarism; see also An
Historian, Rufo, Plagiarism and the Strange Death of US News Media, MEDIUM, Dec. 22,
2023, available at https://bit.ly/Rufo_Plagiarism. Here, Rufo posted the Amended Complaint
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researcher feeding all of the author’s published work through a system such as

iThenticate® and seeing if it turns up pieces of similar text from other sources. At

that juncture, a good faith plagiarism researcher would then look and see if those

passages reflect an intent by the author to pass off the ideas of others as her own.


       But while a real plagiarism inquiry would begin by identifying similar text, the

weaponized-plagiarism hit-job ends there. The deliverable, for FASORP and America

First, is simply the blotches of bright yellow highlighter they have used in the

Amended Complaint to denote similar patches of text. The relevant inquiry to a

scholar, by contrast, is whether the author has taken the ideas of another and passed

them off as her own. And no one—not even FASORP or America First—has ever

accused Professor Gilles of that. 15


       4.     Professor Norrinda Brown


       FASORP and America First also use their weaponized plagiarism tool to

defame Fordham Law School Professor Norrinda Brown. Professor Brown has no

affiliation with Northwestern Law School but, in 2023, she published an article in the

student-run Northwestern Law Review.



within minutes of its filing, firing off tweets at the law professors who had criticized FASORP
and highlighting its new allegations regarding Professor Gilles.
    15 We can only scratch the surface here of the problems with FASORP’s presentation. In

many of the selections of text it reproduces from Professor Gilles, FASORP cuts off the
excerpt before the footnote signifier (or number) and omits the footnote text which provides
sourcing for Professor Gilles’s assertions. And the selections it presents from within footnotes
are, invariably, rote string citations which would in no way benefit from shuffling the word
order or using quotation marks to create a quotation-of-quotations. And here again, a federal
discrimination lawsuit is a bizarre forum for hashing out the fine-point norms for re-wording
or attributing rote string citations and similar material in legal scholarship.

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       The allegations concerning Professor Brown’s article reveal the fundamentally

polemical and political nature of FASORP’s filing as they have no bearing on any

legal claim. They don’t speak to Northwestern’s hiring policies, or the selection of law

review members. Nor do the allegations regarding Professor Brown speak to any

racial bias on the part of students in selecting articles. What the allegations reveal

is America First’s deep resentment of the interest that academia shows in issues

relating to the Black experience. And they show a callous willingness to destroy the

reputation of a young Black scholar in the process.


                                    ARGUMENT

      The Court Should Order FASORP to Show Cause Why Sanctions
      Should Not Be Imposed Under Fed. R. Civ. P. 11(b)(1) and 11(c)(3)

       Under Fed. R. Civ. P. 11(b)(1), FASORP “certified” to the Court that the

Amended Complaint “is not being presented for any improper purpose.” And while

Amici do not claim standing to move this Court for the imposition of sanctions, this

Court has the power, “[o]n its own,” to “order an attorney, law firm, or party to show

cause why conduct specifically described in the order has not violated Rule 11(b).”

FED. R. CIV. P. 11(c)(3).

       Rule 11(b)(1) prohibits the filing of legal pleadings for “an improper purpose.”

Numerous “courts have found an improper purpose based on [the] political

motivations” of a plaintiff in bringing a lawsuit. Teno v. Iwanski, 464 F. Supp. 3d

924, 953-54 (E.D. Tenn. 2020). See, e.g., Lake v. Fontes, No. CV-22-00677-PHX-JJT,

2023 U.S. Dist. LEXIS 122594, at *4 (D. Ariz. July 14, 2023) (upholding sanctions


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where    plaintiffs,   including   politician    Kari   Lake,   “brought   this   case   for

the improper purpose of sowing doubts about the reliability and trustworthiness of

elections for their own financial and political benefit in violation of Rule 11(b)(1)”)

(cleaned up); Collins v. Daniels, 916 F.3d 1302, 1320-22 (10th Cir. 2019) (upholding

finding of Rule 11(b)(1) violation where “plaintiff’s counsel added the Legislator

Plaintiffs [and a public interest group] as parties to this case for an improper

purpose—namely, for political reasons to express their opposition to lawful bail

reforms in the State of New Mexico rather than to advance colorable claims for

judicial relief”) (cleaned up); King v. Whitmer, 556 F. Supp. 3d 680, 689 (E.D. Mich.

2021) (“this case was never about fraud—it was about undermining the People’s faith

in our democracy and debasing the judicial process to do so” in violation of Rule

11(b)(1)); Trump v. Clinton, supra (“The rule of law is undermined by . . . efforts to

advance a political narrative through lawsuits without factual basis or any cognizable

legal theory.”)

        The relevant question, under Rule 11(b)(1), is whether “the litigation

preeminently served a political aim.” Rawls v. Kegerise, No. 1:13-cv-2867, 2014 U.S.

Dist. LEXIS 179764, at *15 (M.D. Pa. Aug. 25, 2014) (emphasis added). Towards

those ends, courts ask whether the relevant conduct “was part of a pattern of activity,

or an isolated event” and “whether the person has engaged in similar conduct in other

litigation,” among other factors. FED. R. CIV. P. 11 Advisory Committee Notes.


        Here, FASORP and America First are running the same slanderous playbook

in courts across the country, indiscriminately impugning the professional integrity of


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Black academics along with the student-run law reviews that publish their articles.

See FASORP v. Harvard Law Rev., supra; FASORP v. NYU Law Review, supra;

Lowery v. Texas A&M, supra. By its own account, FASORP will continue advancing

its libelous and fundamentally political lawsuits in the absence of a judicial check.

Amici respectfully suggest that Rule 11(b)(1) provides such a check.


                                    CONCLUSION
      Amici respectfully submit that the Motion of Northwestern Law School should

be granted in full, and that the Court should give consideration to the application of

Rule 11 in this matter.


Dated: November 8, 2024                       Respectfully submitted,


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